            Case 4:22-cv-00638-KGB Document 45 Filed 10/14/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


DON PLUMLEE, JAKIE HANAN, and
PETE EDWARDS, on behalf of themselves
and all others similarly situated                                                    PLAINTIFFS

       v.                            NO. 4:22-CV-638-KGB

STEEP HILL, INC.; STEEP HILL ARKANSAS;
BRENT WHITTINGTON; BRANDON THORNTON;
BOLD TEAM, LLC; NSMC-OPCO, LLC D/B/A
NATURAL STATE MEDICINAL; OSAGE CREEK
CULTIVATION, LLC; and JOHN DOES 1–10                                              DEFENDANTS


              SEPARATE DEFENDANT NSMC-OPCO, LLC’S RESPONSE TO
               PLAINTIFFS’ MOTION TO DISMISS WITHOUT PREJUDICE


       Comes now Separate Defendant NSMC-OPCO, LLC, by and through its attorneys, Barber

Law Firm PLLC, and for its Response to Plaintiffs’ Motion to Dismiss, states:

       1.       Plaintiffs Don Plumlee, Jakie Hanan, and Pete Edwards (collectively, “Plaintiffs”)

filed this class action complaint asserting six (6) causes of action against Defendant NSMC-OPCO,

LLC (“NSMC”). More particularly, Plaintiffs asserted five (5) claims under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”) and one (1) state-law based claim alleging

fraud and violations of the Arkansas Deceptive Trade Practices Act (“ADTPA”).

       2.       On October 11, 2022, Plaintiffs moved to voluntarily dismiss their claims without

prejudice. Plaintiffs do not cite the authority or rule under which they have filed their motion, but

they presumably seek to voluntarily dismiss their claims pursuant to Fed. R. Civ. P. 41(a)(2).

       3.       NSMC does not oppose Plaintiffs’ motion for voluntary dismissal.

       4.       Pursuant to Fed. R. Civ. P. 41(d), however, NSMC expressly reserves its right to

seek attorneys’ fees, costs, and expenses incurred in defending this action in the event Plaintiffs

                                            Page 1 of 2
           Case 4:22-cv-00638-KGB Document 45 Filed 10/14/22 Page 2 of 2




subsequently re-file their claims against NSMC. See Fed. R. Civ. P. 41(d); Evans v. Safeway

Stores, Inc., 623 F.2d 121, 122 (8th Cir. 1980) (affirming award of attorneys’ fees in favor of

defendant when plaintiff voluntarily dismissed claims and subsequently re-filed the same claims

against the same defendant); Robinson v. Bank of Am., N.A., 553 Fed. App’x 648 (8th Cir. 2014)

(same).

          WHEREFORE, Defendant NSMC-OPCO, LLC respectfully requests that the Court grant

Plaintiffs’ motion for voluntary dismissal, dismiss their claims against NSMC, and award NSMC

all other just and proper relief to which it may be entitled.



                                               Respectfully submitted,

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                                             Page 2 of 2
